          Case 3:22-cv-00396-JD Document 16 Filed 03/08/22 Page 1 of 2



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 5
     Attorney for Plaintiff
 6   PHILIP MICHNO.
 7
 8                             UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
10
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12   PHILIP MICHNO, an individual,                 Case No. 3:22-cv-00396

13           Plaintiffs,                           NOTICE OF VOLUNTARY
     v.                                            DISMISSAL OF CLAIMS AGAINST
14
                                                   DEFENDANT COINBASE, INC.
15   DISH WIRELESS L.L.C., d/b/a BOOST             PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
     MOBILE, COINBASE, INC., and DOES 1 to
16   10, inclusive,
17           Defendants.
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                NOTICE OF VOLUNTARY DISMISSAL OF CLAIMS AGAINST DEFENDANT COINBASE, INC.
                                                                     CASE NO. 3:22-CV-00396
        Case 3:22-cv-00396-JD Document 16 Filed 03/08/22 Page 2 of 2



 1          Pursuant to F.R.C.P. 41(a)(1)(A)(i), Plaintiff Philip Michno (“Plaintiff”), through his

 2   counsel of record, hereby gives notice that his claims against Defendant Coinbase, Inc.

 3   (“Coinbase”) are voluntarily dismissed, without prejudice. Pursuant to Coinbase’s User

 4   Agreement that Plaintiff agreed to, Plaintiff shall resolve any dispute between him and

 5   Coinbase in arbitration.

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 8    Dated: March 8, 2022                            Respectfully submitted,

 9                                                    THE ROBIN HOOD LAWYERS, LLP

10                                              By: /s/ Alex Farzan
                                                    Alex Farzan
11                                                  Attorney for Plaintiff
                                                    PHILIP MICHNO.
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               NOTICE OF VOLUNTARY DISMISSAL OF CLAIMS AGAINST DEFENDANT COINBASE, INC.
                                                                    CASE NO. 3:22-CV-00396
